PC: DDB
F.# 2010R.02320

UNITED STATES DISTRICT COURT

EASTERN DISTRICT OF NEW YORK © . .
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UNITED STATES OF AMERICA _ TO BE FILED UNDER SEAL
- against - COMPLAINT AND
AFFIDAVIT IN SUPPORT
LASHA GOLETIANI, . OF ARREST WARRANT
(T. 31, U.S.C., §5324(a) (2)
Defendant. ‘and (d) (2)}
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EASTERN DISTRICT OF NEW YORK, SS:

DANIEL P. SYMONDS, being duly sworn, deposes and says
that he is a Special Agent with united States Immigration and
Customs Enforcement (“ICE”), duly appointed according to law and
acting as such.

‘Upon information and belief, in’or about May 2011,
within the Eastern District of New York and elsewhere, the
defendant LASHA GOLETIANI, together with others, for the purpose
_ of evading the reporting. requirements ef Title 31, United States
Code, Section 5313 (a) and Title 31, Code of Federal Regulations,
Section 1010.311, did knowingly and intentionally cause and
attempt to cause domestic financial’ institutions to file reports
required under Title 31, United States Code, Section $313 (a) that

contained material omissions and misstatements of fact, and did
sO as part of a pattern of illegal activity involving more than
$100,000 in a 12-month period.

(Title 31, United States Code, Sections 5324(a)(2} and
(d) (2})

The source of your deponent's information and the
grounds for his belief are as follows:

lL. I have been a Special Agent with ICE for
approximately two years. In. this capacity, I have participated
in numerous investigations involving, among other crimes,
financial transaction fraud, violations of the Bank Secrecy Act
and money laundering. Through my training, education and
experience -- which has included debriefing numerous cooperating -
witnesses involved in violating federal financial reporting
regulations, remitting money illegally, laundering the proceeds
of criminal activities and committing other crimes; reviewing
Financial records that reflect structuring of deposits and
withdrawals; and conducting surveillance on numerous occasions of
individuals engaged in violating federal financial reporting
regulations, as well as other federal laws -- I have become
familiar with the manner in which money is deposited and
withdrawn from banks, money service businesses and other
financial institutions to avoid reporting requirements, and the
efforts of persons involved in such activity to avoid detection

by law enforcement.
2. %I am assigned to an investigation of the defendant
LASHA GOLETIANI and others, who were involved in a scheme to
cause the filing of materially false Currency Transaction Reports
(FinCEN Form 104, referred to as “CTRs”) through a check cashing
store located in Queens, New York called Belair Payroll Services,
Inc. (“Belair”).

3. The information set forth in this complaint is
based on my review of documentary evidence and records,
surveillance, interviews with various witnesses to and
participants in the criminal activity described herein, and
discussions with other law enforcement agents, as set forth in
more detail below. Because this complaint is submitted only to
establish probable cause to arrest, I have not included each and
every fact known to me concerning this investigation. T have set
forth only the facts that I believe are necessary to establish
probable cause: In addition, when I rely on statements made by
others, such statements are set forth in part and in substance

unless otherwise indicated.

CURRENCY REPORTING REQUIREMENTS
4. Pursuant to Title 31, United States Code, Section
5313(a) and Title 31,-Code of Federal Regulations, Section
1010.311, domestic financial institutions are required to file a
CTR with the United States Department of the Treasury for each
deposit, withdrawal, exchange of currency or other payment or

transfer, by, through or to such financial institutions that
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involves a transaction in currency of more than $10,000. ‘Banks
and check cashing stores are £inancial institutions that are
required to file CTRs under Titie 31, Code of Federal

Regulations, Section 1010.311. Thus, if a check cashing business

conducts a transaction involving more than $10,000 in U.S.

‘currency, it is obligated to file a CTR.

5. CTRs are required to be filed to assist the United
States in criminal, tax and regulatory investigations and
proceedings, as stated in Title 31, Code of Federal Regulations,
Section 1010.301. CTRs require disclosure of, among other
things, the individual er organization on whose behalf the
transaction is conducted (Part I, Section A of the CTR) and the
identity of the individual who actually conducted the transaction
{Part I, Section B of the CTR).

6. According te records filed with the State of New.

York Department of State, Division of Corporations, Belair is a

domestic financial institution incorporated in the State of New .

York that operates check cashing stores throughout New York,
including one located at 159-17 Northern Boulevard, Flushing, New
York 11358. Belair is licensed and registered in the State of
New York as a money service business. As such, Belair is a
“financial institution” as defined in Title 31, United States
Code, section 5312 (a} (2) {k) and Title 31, Code of Federal

Regulations, Section 1010.100(t), and is required to file CTRs.
PROBABLE CAUSE

7 The investigation in this Matter has revealed that
between March 2009 and May 2011, defendant LASHA GOLETIANI
engaged in a fraudulent scheme to cause Belair to file materially
false crrs, for the purpose of evading the reporting requirements
of Titie 31. As part of the scheme, the defendant and others (a)
caused Belair to file CTRs that omitted the material fact that
the defendant was the person actually conducting the transaction;
(b) caused Belair to file CTRs that falsely and fraudulently
identified individuals purportedly presented checks to be cashed
at Belair; and (c) falsely and fraudulently represented to Belair
that companies on whose behalf the checks were purportedly being
negotiated were legitimate companies when, in fact, they were
merely shell companies with no legitimate purpese or activities.

8. On or about February 3, 2011, ICE Special Agents
interviewed an employee of a Belair who is a cooperating witness

("CW"). The CW stated that as a part of his job responsibilities

‘he signed and filed CTRs at Belair. The CW further stated that

he recognizes the defendant, whom he knows as “John”, as a
regular customer of Belair. According to the CW, the defendant
has been cashing checks at Belair since March 2009 and cashes
multiple checks several times a week at Belair. In fact, for the
period of May 2011 alone, the. CW filed 26 CTRs for the defendant |

totaling in excess of $600,000.
Knowledge, Intent and Purpose

9. The defendant knew that Belair was required to file
CTRs for cash transactions of $10,000 or more and that Belair
filed CTRs relating to the defendant’ s transactions on a regular
basis.

10. On or about April 26, 2011, the CW asked the
defendant if he knew what a CTR was, and the defendant’ responded
that he did. On the same date, the defendant told the CW that
because he did not want CTRs to be filed in his name, he tried to
keep the checks that. he cashed under $10,000.

ii. The defendant took numerous steps to evade the CTR
filing requirement. On or about April 26, 2011, the defendant
told the ow that he did not want his name listed on any CTR forms
Belair filed. On or about May 9, 2011, the defendant instructed
the CW to fill out and file the CTRs without his name and to file
the CTRs in the names of certain companies and ‘the purported
owners of these companies. The CW complied with the defendant's
request on both occasions. Both times, the defendant informed
the CW that some of the persons identified in Part I, Section A
of the CTR as the owners of the companies on whose behalf the
transactions were conducted were no longer present in the United

States.
12. Between October 2010 and the present, ICE Special
Agents ‘and I have conducted numerous surveillance operations in
the vicinity of Belair. On multiple occasions, I observed the
defendant, whose identity was confirmed through New York State
Department of Motor Vehicle records and by the CW, entering
Belair and conducting ‘financial transactions inside the emp loyee-
only area of Belair. On November 17, 2010, another agent
involved in the investigation observed the defendant exit Belair
holding a package concealed in his vest. The defendant then
entered his vehicle, lifted up his vest and removed a brick-like
_ object that appeared to be United States currency wrapped in a
translucent bag.
Materially False statements and Omissions

13. According to the CW, 26 CTRs representing
transactions conducted by the defendant. were filed by Belair with |
the United States Department of Treasury ‘in May 2011. However,
at the direction of the defendant, none of those CTRs named him
as the person actually conducting the transaction, as required in
Part I, Section B of the. CTR. Rather, the defendant instructed
the CW to fill out Part I, Section A of the CTR with the name and
address of a fictitious corporation and a fake corporate officer,
and to complete Part I, Section B of the CTR by checking the box
indicating, in effect, that the corporate officer was conducting

the transaction. Thus, pursuant to the defendant’s instructions,
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the CTRs falsely state that the transactions were conducted on
behalf of and by certain corporations and those corporations’
officials, when, in fact, the defendant actually conducted the
transaction.—
14. I reviewed 26 CTRs that were filed by Belair in

May 2011. as the result of transactions conducted by the defendant
(the “*GOLETIANI CTRs") . All of those CTRs falsely list persons
as participants in the financial transactions who, in’ fact, had
nothing to do with the transactions. According to Department of
Homeland Security (“DHS”) records, the persons listed on the CTRs
were often not even present in the United States when the
financial transactions listed on the CTRs took place. Further,
none of the CTRs list the defendant as either the person on whose
behalf the transaction was conducted (Part I, Section A of the-
CTR) or the individual conducting. the transaction (Part I,
Section B of the CTR), even though the defendant was involved in
each of the transactions.

Shell Companies and False CTRs

15. The GOLETIANI CTRs also falsely list persons

participating in the financial transactions as owners of specific
corporations. The investigation has revealed that these
corporations were not engaged in any legitimate business function

and were essentially shell companies.

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16. I personally visited a number of the corporate
addresses detailed on the certificates of incorporation for the
shell companies that were listed on the GOLETIANI CTRs- and _
observed that all of the addresses appeared to be residential
buildings out of which no businesses were being operated. In
addition, there did not appear to be any connections between
these buildings and the persons in whose names the shell
companies were established, as no mailboxes could be found
bearing the names of the persons listed on the certificates of
incorporation for the corresponding shell company.

17. The defendant used various shell companies,
incorporated in the State of New York. These shell companies:

purported to be medical, billing and processing companies, and

included names such as BHO Marketing, VDS Medical Supply, Inc.,,

Sharp Processing Services, Inc., Georgia Business Services Inc.
and GRP Computer Maintenance, Inc. There is no evidence that any
ef these shell companies is a legitimate company that engages in
its or any purported business. In almost every instance, the
individual listed in public records as the owner of the company

is no longer present in the United States. Further, DHS records

‘with respect to all of the individuals purporting to be owners of

the corporations indicate that the individuals had only temporary
immigration status in the United States, often a J-1

“Nonimmigrant Exchange Visitor” visa.

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18. Disclosure of this affidavit and warrant could
result in the flight of che defendant and other targets of the
-investigation, the destruction of evidence and tampering with
witnesses. .

WHEREFORE, your deponent respect fully requests that an
arrest warrant be issued’ for the defendant LASHA GOLETIANI, 590
that he may be dealt with according to law.

_ WHEREFORE your deponent further respectfully requests

that this affidavit and the arrest warrant be sealed until-

further order of the Court.

DANIEL P. SYMONDS

‘Special Agent

United States Immigration and
Customs Enforcement

Sworn to before, me this
“only day of / , 20%1

UNITED STATES MAGISTRATE JUD
-EASTERN DISTRICT OF NEW YOR

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